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 2                                                        The Honorable Barbara J. Rothstein

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 9                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
10                                    AT SEATTLE

11   IN RE SUBPOENA TO
     JIMMY NGUYEN                                Case No. 2:20-cv-00593-BJR
12

13   IRA KLEIMAN, as the personal                SECOND DECLARATION OF
     representative of the Estate of David       VELVEL (DEVIN) FREEDMAN IN
14   Kleiman, and W&K Info Defense Research,     SUPPORT OF PLAINTIFFS’ MOTION
     LLC,                                        TO COMPEL COMPLIANCE WITH
15                                               SUBPOENA
                                   Plaintiffs,
16                                               NOTED ON MOTION CALENDAR:
        v.                                       April 24, 2020
17
     CRAIG WRIGHT,
18
                                  Defendant.
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24   SECOND DECLARATION OF VELVEL (DEVIN)              ROCHE CYRULNIK FREEDMAN LLP
     FREEDMAN IN SUPPORT OF PLAINTIFFS’ MOTION           200 S BISCAYNE BLVD., SUITE 5500
25   TO COMPEL COMPLIANCE WITH SUBPOENA                           MIAMI, FL 33131
     (Case No. 2:20-cv-00593-BJR)                               TEL.: (305) 753-3675
26
                 Case 2:20-cv-00593-BJR Document 13 Filed 04/24/20 Page 2 of 5




 1                                           DECLARATION

 2          1.       I am an attorney for Plaintiffs Ira Kleiman, as the personal representative of the

 3   Estate of David Kleiman, and W&K Info Defense Research, LLC (collectively, “Plaintiffs”). I

 4   am admitted to practice in the U.S. Supreme Court, Florida, District of Columbia, U.S. Courts of

 5   Appeals for the Ninth and Eleventh Circuits, and all U.S. District Courts in Florida.

 6          2.       I am over the age of eighteen. The statements in this declaration are based on my

 7   personal knowledge and they are true and accurate to the best of my knowledge and belief. I

 8   make this declaration in support of Plaintiffs’ Motion to Compel Compliance with Subpoena.

 9          3.       Attached hereto as Exhibit 1 is a true and correct copy of Plaintiffs’ Expedited

10   Motion for Enlargement of Time of Expert Related Deadlines and for Extension of Time to

11   Complete Three Fact Witness Depositions, Ira Kleiman et al. v. Craig Wright, No. 9:18-cv-

12   80176-BB (S.D. Fla. March 24, 2020), ECF No. 436.

13          4.       Attached hereto as Exhibit 2 is a true and correct copy of the Order Amending

14   Scheduling Order, Ira Kleiman et al. v. Craig Wright, No. 9:18-cv-80176-BB (S.D. Fla. Mar. 26,

15   2020), ECF No. 441.

16          5.       Attached hereto as Exhibit 3 is a true and correct copy of the Joint Discovery

17   Memorandum, Ira Kleiman et al. v. Craig Wright, No. 9:18-cv-80176-BB (S.D. Fla. Apr. 7,

18   2020), ECF No. 449.

19          6.       Attached hereto as Exhibit 4 is a true and correct copy of the Order granting in

20   part and denying in part the parties’ Joint Motion for Discovery, Ira Kleiman et al. v. Craig

21   Wright, No. 9:18-cv-80176-BB (S.D. Fla. Apr. 9, 2020), ECF No. 451.

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26
                  Case 2:20-cv-00593-BJR Document 13 Filed 04/24/20 Page 3 of 5




 1           7.       Attached hereto as Exhibit 5 is a true and correct copy of the Order on Plaintiffs’

 2   Motion to Compel, Ira Kleiman et al. v. Craig Wright, No. 9:18-cv-80176-BB (S.D. Fla. Aug.

 3   27, 2019), ECF No. 277.

 4           8.       Attached hereto as Exhibit 6 is a true and correct copy of the Order affirming in

 5   part and reversing in part the Order on Plaintiffs’ Motion to Compel, Ira Kleiman et al. v. Craig

 6   Wright, No. 9:18-cv-80176-BB (S.D. Fla. Jan. 10, 2020), ECF No. 373.

 7           9.       Attached hereto as Exhibit 7 is a true and correct copy of the Order granting in

 8   part Plaintiffs’ Motion for Ninety Day Extension of Pretrial Deadlines and for Continuance of

 9   Trial Date, Ira Kleiman et al. v. Craig Wright, No. 9:18-cv-80176-BB (S.D. Fla. Jan. 16, 2020),

10   ECF No. 382.

11           10.      Attached hereto as Exhibit 8 is a true and correct copy of a compilation of

12   Affidavits of Attempted Service and an Affidavit of Service that Plaintiffs received from their

13   process servers on April 8, 2020. The Affidavit of Service, which is on page 3, indicates that the

14   Subpoenas were left at Mr. Nguyen’s door on April 3, 2020, along with the necessary fees. The

15   Affidavit of Attempted Service on page 1 indicates that a woman at Mr. Nguyen’s home refused

16   to accept service of the Subpoenas on March 25, 2020.

17           11.      Attached hereto as Exhibit 9 is a true and correct copy of an additional Affidavit

18   of Attempted Service that Plaintiffs received from their process servers on April 14, 2020.

19           12.      Attached hereto as Exhibit 10 is a true and correct copy of an email sent by

20   Plaintiffs’ counsel on April 8, 2020, transmitting the Subpoenas to three email addresses that

21   Plaintiffs    believed   were    controlled   and    used    by   Mr.    Nguyen,     including   an

22   @bitcoinassociation.net email address.

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26
               Case 2:20-cv-00593-BJR Document 13 Filed 04/24/20 Page 4 of 5




 1          13.     Attached hereto as Exhibit 11 is a true and correct copy of Plaintiffs’ counsel’s

 2   March 29, 2020, tweet serving the Subpoenas on Mr. Nguyen.

 3          14.     Attached hereto as Exhibit 12 is a true and correct copy of a certified mail receipt

 4   and tracking information showing delivery of the Subpoenas on April 1, 2020 to Mr. Nguyen’s

 5   last known address.

 6          15.     Attached hereto as Exhibit 13 is a true and correct copy of a certified mail receipt

 7   and tracking information showing delivery of the Subpoenas on April 9, 2020 to Mr. Nguyen’s

 8   last known address. The Subpoenas were sent on April 7, 2020.

 9          16.     Attached hereto as Exhibit 14 is a true and correct copy of a receipt demonstrating

10   that, at the same time that Plaintiffs sent the Subpoenas to Mr. Nguyen by certified mail on April

11   7, 2020, Plaintiffs also sent the Subpoenas to Mr. Nguyen by regular U.S. mail.

12          17.     Attached hereto as Exhibit 15 is a true and correct copy of a table prepared by

13   Plaintiffs that counts the number of tweets and retweets on Mr. Nguyen’s twitter page,

14   @JimmyWinMedia, https://twitter.com/jimmywinmedia?lang=en, over the period from February

15   29, 2020 to April 23, 2020. Mr. Nguyen’s twitter page does not show any tweets or retweets

16   from him over the period from March 30, 2020 to April 23, 2020.

17          18.     On April 7, 2020, Plaintiffs’ attorney requested that Mr. Nguyen’s attorney accept

18   service of the Subpoenas on behalf of Mr. Nguyen. Mr. Nguyen’s attorney stated that he did not

19   have authorization from his client to do so.

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            I declare the foregoing statements to be true under the penalties of perjury.
21

22   Dated: April 24, 2020                            /s/ Velvel (Devin) Freedman
                                                      Velvel (Devin) Freedman, Esq.
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26
               Case 2:20-cv-00593-BJR Document 13 Filed 04/24/20 Page 5 of 5




 1                                   CERTIFICATE OF SERVICE

 2          I HEREBY CERTIFY that on April 24, 2020, I electronically filed the foregoing

 3   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

 4   is being served this day on all counsel of record via transmission of Notices of Electronic Filing

 5   generated by CM/ECF.

 6                                                      /s/ Velvel Freedman
                                                        VELVEL (DEVIN) FREEDMAN
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